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                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

In re:                                                           Case No. 10-89836-JRS
         RACHEL SHANNON CARTWRIGHT

                      Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

         Adam M. Goodman, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 10/04/2010.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

        4) The trustee filed action to remedy default by the debtor in performance under the
plan on NA .

         5) The case was dismissed on 01/05/2011.

         6) Number of months from filing to last payment: 0.

         7) Number of months case was pending: 4.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $1,750.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

           Total paid by or on behalf of the debtor                             $0.00
           Less amount refunded to debtor                                       $0.00

NET RECEIPTS:                                                                                                          $0.00



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                              $0.00
     Court Costs                                                                        $0.00
     Trustee Expenses & Compensation                                                    $0.00
     Other                                                                              $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                                      $0.00

Attorney fees paid and disclosed by debtor:                               $0.00



Scheduled Creditors:
Creditor                                                Claim         Claim          Claim          Principal            Int.
Name                                    Class         Scheduled      Asserted       Allowed           Paid               Paid
APALACHEE WOODS HOMEOWNERS          Secured                    NA       2,900.61         2,900.61               0.00            0.00
ASSET ACCEPTANCE CORP.              Unsecured                  NA         271.74           271.74               0.00            0.00
BAC BANKRUPTCY DEPT.                Secured              45,000.00     64,462.29        64,462.29               0.00            0.00
CARDIOVASCULAR GROUP                Unsecured             1,913.00           NA               NA                0.00            0.00
EASTSIDE MEDICAL CENTER             Unsecured               385.30           NA               NA                0.00            0.00
EASTSIDE MEDICAL CENTER             Unsecured               372.96           NA               NA                0.00            0.00
GEORGIA DEPT OF REVENUE             Priority                  0.00           NA               NA                0.00            0.00
GWINNETT MEDICAL CENTER             Unsecured             4,000.00           NA               NA                0.00            0.00
HSBC BANK NEVADA                    Unsecured                 0.00           NA               NA                0.00            0.00
INTERNAL REVENUE SERVICE            Priority                  0.00     43,211.66        43,211.66               0.00            0.00
INTERNAL REVENUE SERVICE            Unsecured                 0.00        336.22           336.22               0.00            0.00
LVNV FUNDING LLC                    Unsecured                 0.00           NA               NA                0.00            0.00
MEDICAL REVENUE SERVICE             Unsecured                 0.00           NA               NA                0.00            0.00
SCHEDULED CREDITOR                  Unsecured               313.00           NA               NA                0.00            0.00
US AUTO SALES                       Secured              17,000.00     19,774.15        19,774.15               0.00            0.00
WELLS FARGO FINANCIAL               Unsecured                 0.00           NA               NA                0.00            0.00
WORLDWIDE ASSET PURCHASING L        Unsecured                 0.00           NA               NA                0.00            0.00




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 Summary of Disbursements to Creditors:
                                                                      Claim             Principal          Interest
                                                                    Allowed                 Paid              Paid
 Secured Payments:
        Mortgage Ongoing                                              $0.00                $0.00            $0.00
        Mortgage Arrearage                                       $64,462.29                $0.00            $0.00
        Debt Secured by Vehicle                                  $19,774.15                $0.00            $0.00
        All Other Secured                                         $2,900.61                $0.00            $0.00
 TOTAL SECURED:                                                  $87,137.05                $0.00            $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                                   $0.00                $0.00            $0.00
         Domestic Support Ongoing                                     $0.00                $0.00            $0.00
         All Other Priority                                      $43,211.66                $0.00            $0.00
 TOTAL PRIORITY:                                                 $43,211.66                $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                                        $607.96                $0.00            $0.00



 Disbursements:

          Expenses of Administration                                          $0.00
          Disbursements to Creditors                                          $0.00

 TOTAL DISBURSEMENTS :                                                                                    $0.00



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 01/26/2011                                  By: /s/ Adam M. Goodman
                                                                                 Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION
                                                     CHAPTER 13

IN RE:                                             )     CASE NO. 10-89836-JRS
RACHEL SHANNON CARTWRIGHT                          )
                                                   )
                                                   )
DEBTOR                                             )

                                        CERTIFICATE OF SERVICE

This is to Certify that I have this day served

   RACHEL SHANNON CARTWRIGHT
   630 BECKENHAM WALK DRIVE
   DACULA, GA 30019


   SAEDI & WELLS, LLC
   2385 WALL STREET
   CONYERS, GA 30013


with a copy of the foregoing Chapter 13 Trustee's Final Report and Account by depositing in the
United States Mail a copy of same in a properly addressed envelope with adequate postage
thereon.

DATED: 01/26/2011                                                              /S/
                                                       Adam M. Goodman, Chapter 13 Trustee
                                                       State Bar No. 300887
                                                       STANDING CHAPTER 13 TRUSTEE
                                                       260 PEACHTREE STREET
                                                       SUITE 200
                                                       ATLANTA, GA 30303
                                                       (678)510-1444
                                                       trustee@13trusteeatlanta.com




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